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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 SATURNO, LLC D/B/A MODERN MALE
 BARBER SHOP, individually and on behalf
 of a class of similarly situated persons              Civil Case No.:         21-172
 375 Cowpath Road
 Souderton, PA 18964,
                                                       CLASS ACTION
                        Plaintiff,
                                                       JURY TRIAL DEMANDED
                 v.

 ERIE INSURANCE EXCHANGE
 100 Erie Insurance Place
 Erie, PA 16530,

                        Defendant.


                                CLASS ACTION COMPLAINT

       Plaintiff, Saturno, LLC d/b/a Modern Male Barber Shop (hereinafter “Saturno” or

“Plaintiff”), individually and on behalf of themselves and all others similarly situated, by and

through their counsel, hereby complain and allege as follows:

                                       INTRODUCTION

       1.       In response to the global COVID-19 pandemic, civil authorities in Pennsylvania

and throughout the United States issued orders requiring residents to stay at home, shutting down

restaurants and other businesses deemed non-essential, and prohibiting gatherings of large

groups. In upholding the executive orders issued by Pennsylvania’s Governor, the Pennsylvania

Supreme Court recognized the COVID-19 pandemic as “a natural disaster and a catastrophe of

massive proportions” that “involve[s] ‘substantial damage to property, hardship, suffering or

possible loss of life.’” Friends of Danny DeVito v. Wolf, No. 68 MM 2020, ____ A.3d ____,

2020 WL 1847100, at *12 (Pa. Apr. 13, 2020) (citations omitted). The Court further explained
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that given the way the virus spreads, “any location . . . where two or more people can congregate

is within the disaster area.” Id. at *13.

        2.       While necessary to slow the spread of the novel coronavirus, these orders have

had a devastating effect on businesses, such as Plaintiff’s, which have been forced to suspend

business operations.

        3.       To protect from losses caused by situations like this, Plaintiff and other similarly

situated nationwide Class members obtained insurance policies from Defendant that included

business interruption coverage. In breach of the insurance obligations Defendant undertook in

exchange for premium payments, which Plaintiff and Class members paid, Defendant has

wrongfully denied Plaintiff’s and Class members’ insurance claims arising from the interruption

of Plaintiff’s and Class members’ businesses.

                                              PARTIES

        4.       Plaintiff, Saturno, LLC d/b/a Modern Male Barber Shop (hereinafter “Saturno” or

“Plaintiff”), is a business entity organized under the laws of Pennsylvania with their place of

business in Souderton, Pennsylvania. Saturno runs Modern Male Barber Shop, a barber shop and

men’s grooming establishment, in Montgomery County, Pennsylvania.

        5.       Defendant Erie Insurance Exchange (“Erie” or “Defendant”) is a reciprocal

insurance exchange organized under the laws of Pennsylvania with its principal place of business

in Erie, Pennsylvania.

                                  JURISDICTION AND VENUE

        6.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332, because

Defendant and at least one member of the Class are citizens of different states and because: (a)

the Class consists of at least 100 members; (b) the amount in controversy exceeds $5,000,000

exclusive of interest and costs; and (c) no relevant exceptions apply to this claim.


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        7.       Venue is proper in this District under 28 U.S.C. § 1391, because Defendant

resides in this District and a substantial portion of the acts and conduct giving rise to the claims

occurred within the District.

                                  FACTUAL ALLEGATIONS

The COVID-19 Pandemic

        8.       In December 2019, a novel (new) coronavirus known as SARS-CoV-2 was first

detected in Wuhan, Hubei Province, China, and which caused an outbreak of a disease now

known as COVID-19.

        9.       The coronavirus causing COVID-19 is thought to spread mainly from person to

person, primarily through respiratory droplets produced when an infected person coughs or

sneezes. 1

        10.      The coronavirus spread globally, and on January 30, 2020, the World Health

Organization designated the COVID-19 outbreak as a Public Health Emergency of International

Concern. 2

        11.      On January 31, 2020, United States Health and Human Services Secretary Alex

M. Azar II declared a public health emergency for the entire United States to aid the nation’s

healthcare community in responding to COVID-19. 3


1
 See generally CDC Coronavirus Disease 2019 (COVID-19),
https://www.cdc.gov/coronavirus/2019-ncov/faq.html (last visited January 4, 2021).
2
  https://www.who.int/news-room/detail/30-01-2020-statement-on-the-second-meeting-of-the-
international-health-regulations-(2005)-emergency-committee-regarding-the-outbreak-of-novel-
coronavirus-(2019-ncov).
3
 Press Release, Secretary Azar Declares Public Health Emergency for United States for 2019
Novel Coronavirus (Jan. 31, 2020), available at
https://www.hhs.gov/about/news/2020/01/31/secretary-azar-declares-public-health-emergency-
us-2019-novel-coronavirus.html.



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       12.      On March 13, 2020, the President of the United States issued a proclamation that

the COVID-19 outbreak in the United States constitutes a national emergency. 4

       13.      To date, there have been more than 20 million confirmed cases of COVID-19 in

the United States, including more than 666,000 in Pennsylvania and more than 55,000 in

Allegheny County. 5

Closure Orders Issued by Civil Authorities in Response to the COVID-19 Pandemic

       14.      In response to this public health crisis, every state made an emergency declaration

by March 16, 2020. Moreover, civil authorities in nearly every state also ordered some form of

social distancing measures, including stay-at-home orders restrictions on large gatherings and

orders closing or restricting service at restaurants and bars except for takeout and delivery

       15.      In Pennsylvania, on March 6, 2020, Governor Tom Wolf issued a Proclamation of

Disaster Emergency, calling the COVID-19 pandemic a “threat of imminent disaster and

emergency.” 6

       16.      On March 19, 2020, Governor Wolf issued an Executive Order, closing all

businesses in Pennsylvania deemed to be non-life-sustaining. 7

       17.      On March 23, 2020, Governor Wolf issued an Executive Order ordering all

individuals residing in Allegheny County, Bucks County, Chester County, Delaware County,


4
 https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-
concerning-novel-coronavirus-disease-covid-19-outbreak/.
5
 See Johns Hopkins Coronavirus Resource Center, available at
https://coronavirus.jhu.edu/map.html (last visited January 4, 2021).
6
 https://www.governor.pa.gov/wp-content/uploads/2020/03/20200306-COVID19-Digital-
Proclamation.pdf.
7
 https://www.governor.pa.gov/wp-content/uploads/2020/03/20200319-TWW-COVID-19-
business-closure-order.pdf.



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Monroe County, Montgomery County, and Philadelphia County to stay at home except as

needed to access, support, or provide life sustaining business, emergency, or government

services. 8 The Pennsylvania Department of Health issued a similar order the same day. 9

        18.    On April 1, 2020, Governor Wolf issued an Executive Order and the Pennsylvania

Department of Health issued an order extending their respective “stay at home” orders to all

counties in Pennsylvania. 10

        19.    On May 7, 2020, Governor Wolf issued an Executive Order and the Pennsylvania

Department of Health issued an order extending their respective “stay at home” orders until June

4, 2020. 11

        20.    In Friends of Danny DeVito v. Wolf, No. 68 MM 2020, ____ A.3d ____, 2020

WL 1847100, at *12 (Pa. Apr. 13, 2020), businesses challenged the authority of the Governor to

issue the Executive Orders discussed above in response to the COVID-19 pandemic.

Specifically, the businesses challenged whether the orders were properly issued pursuant to the

Emergency Code, which only applied to “disasters” defined as “‘[a] man-made disaster, natural




8
 https://www.governor.pa.gov/wp-content/uploads/2020/03/03.23.20-TWW-COVID-19-Stay-at-
Home-Order.pdf.
9
 https://www.governor.pa.gov/wp-content/uploads/2020/03/03.23.20-SOH-Stay-at-Home-
Order.pdf.
10
   https://www.governor.pa.gov/wp-content/uploads/2020/04/20200401-GOV-Statewide-Stay-at-
Home-Order.pdf; https://www.scribd.com/document/454418390/04-01-20-SOH-Statewide-Stay-
at-Home-Order.
11
  https://www.governor.pa.gov/wp-content/uploads/2020/05/20200507-TWW-Stay-at-Home-
Order-Amendment.pdf; https://www.governor.pa.gov/wp-content/uploads/2020/05/20200507-
SOH-Stay-at-Home-Order-Amendment.pdf.



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disaster or war-caused disaster.’” DeVito, 2020 WL 1847100, at *10 (quoting 35 Pa.C.S. §

7102). The Emergency Code further defines a “natural disaster” as

                Any hurricane, tornado, storm, flood, high water, wind-driven
                water, tidal wave, earthquake, landslide, mudslide, snowstorm,
                drought, fire, explosion or other catastrophe which results in
                substantial damage to property, hardship, suffering or possible loss
                of life.

DeVito, 2020 WL 1847100, at *10 (quoting 35 Pa.C.S. § 7102).

        21.    In sustaining the Governor’s Executive Orders under the Emergency Code, the

Pennsylvania Supreme Court found that the

                . . . COVID-19 pandemic qualifies as a “natural disaster” under the
                Emergency Code for at least two reasons. First, the specific
                disasters in the definition of “natural disaster” themselves lack
                commonality, as while some are weather related (e.g., hurricane,
                tornado, storm), several others are not (tidal wave, earthquake, fire,
                explosion). To the contrary, the only commonality among the
                disparate types of specific disasters referenced is that they all
                involve “substantial damage to property, hardship, suffering or
                possible loss of life.” In this respect, the COVID-19 pandemic is
                of the “same general nature or class as those specifically
                enumerated,” and thus is included, rather than excluded, as a
                type of “natural disaster.”

DeVito, 2020 WL 1847100, at *12 (emphasis added). The Court concluded that “[t]he COVID-

19 pandemic is, by all definitions, a natural disaster and a catastrophe of massive proportions.”

Id.

        22.     The Pennsylvania Supreme Court also held that Governor Wolf was within his

authority to declare the entire state a disaster area, explaining:

        The virus spreads primarily through person-to-person contact, has an incubation period of
        up to fourteen days, one in four carriers of the virus are asymptomatic, and the virus can
        live on surfaces for up to four days. Thus, any location (including Petitioners’ businesses)
        where two or more people can congregate is within the disaster area.

DeVito, 2020 WL 1847100, at *13 (emphasis added).




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       23.     Like Pennsylvania, the presence of COVID-19 has caused civil authorities

throughout the country to issue orders requiring the suspension of business at a wide range of

establishments.

Covered Losses Under the Policy

       24.     Defendant issued Plaintiff’s Ultrapack Plus Policy No. Q970414573 for the policy

period between April 25, 2019 and April 25, 2020 (“the Policy”). Defendant reissued an identical

policy under the same number to Plaintiff for the policy period April 25, 2020 and April 25,

2021. A copy of the declaration page for the 2019-2020 policy is attached as Exhibit “A.” A

copy of the declaration page for the 2020-2021 policy is attached as Exhibit “B.” A copy of the

Policy is attached as Exhibit “C.”

       25.     Parts of the Policy are standardized forms that are used by Erie for all insureds

having applicable coverage.

       26.     The Policy is an all-risk policy, insofar as it provides that covered causes of loss

under the policy means direct physical loss or direct physical damage unless the loss is

specifically excluded or limited in the Policy.

       27.     Among the coverages provided by the Policy, which is currently in full effect, is

business interruption insurance, which, generally, would indemnify Plaintiff for lost income,

profits, and continuing operating expenses in the event that their businesses were shut down.

       28.     Specifically, the Policy provides for business interruption or “Income Protection”

coverage for “loss of ‘income’ and/or ‘rental income’ you sustain due to partial or total

‘interruption of business’ resulting directly from ‘loss’ or damage to property on the premises

described in the ‘Declarations’ or to your food truck or trailer when anywhere in the coverage




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territory from a peril insured against.” Ex. A, Ultrapack Plus Commercial Property Coverage

Part, Income Protection Coverage – Coverage 3, A (p. 21 of 57).

        29.      The Policy also provides extra expense coverage as follows:

                 “Extra expense” coverage is provided at the premises described in
                 the “Declarations.”

                 “Extra expense” means necessary expenses you incur due to partial
                 or total “interruption of business” resulting directly from “loss” or
                 damage to property on the premises described in the
                 “Declarations” or to your food truck or trailer when anywhere in
                 the coverage territory from a peril insured against. “Loss” or
                 damage also includes property in the open, or in a vehicle, on the
                 premises described in the “Declarations” or within 1,500 feet
                 thereof, or to your food truck or trailer when anywhere in the
                 coverage territory.

                 We will pay necessary actual and necessary “extra expenses”
                 (other than the expense to repair or replace property) sustained by
                 you to:

                    1. Avoid or minimize the “interruption of business” and to
                       continue our operations:

                        a.   At the premises described in the “Declarations” or

                        b.   At replacement premises or at temporary locations,
                             including:

                             1) Relocation expenses; and

                             2) Cost to equip and operate the replace or temporary
                                locations.

                        c.   Anywhere in the coverage territory for your food truck
                             or trailer.

                    2. Minimize the “interruption of business” if you cannot
                       continue your business operations to the extent it reduces
                       the amount of loss that would have been payable under loss
                       of “income” and/or “rental income.”

Ex. A, Ultrapack Plus Commercial Property Coverage Part, Income Protection – Coverage 3, B

(p. 21 of 57).



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       30.     The Policy also provides civil authority coverage as follows:

               When a peril insured against causes damage to property other than
               property at the premises described in the “Declarations”, we will
               pay for the actual loss of “income” and/or “rental income” you
               sustain and necessary “extra expense” caused by action of civil
               authority that prohibits access to the premises described in the
               “Declarations” or access to your food truck or trailer when
               anywhere in the coverage territory provided that both of the
               following apply:

                a. Access to the area immediately surrounding the damaged
                   property is prohibited by civil authority as a result of the
                   damage, and the premises described in the “Declarations” or
                   your food truck or trailer when anywhere in the coverage
                   territory are within that area but are not more than one mile
                   for the damaged property; and

                b. The action of the civil authority is taken in response to
                   dangerous physical conditions resulting from the damage or
                   continuation of the peril insured against that caused the
                   damage, or the action is taken to enable a civil authority to
                   have unimpeded access to the damaged property.

Ex. A, Ultrapack Plus Commercial Property Coverage Part, C.1., Additional Coverages, Civil

Authority (p. 22 of 57).

       31.     Covered Causes of Loss is defined under the Policy as “direct physical ‘loss’,

except ‘loss as excluded or limited in this policy.’” Ex. A, Ultrapack Plus Commercial Property

Coverage Part, Section II – Perils Insured Against (p. 22 of 57).

       32.     Beginning in March 2020, Plaintiff was forced to suspend business operations as

a result of the COVID-19 pandemic and the related actions of civil authorities discussed above.

This suspension has caused Plaintiff to suffer significant losses and incur significant expenses.

       33.     Plaintiff and the other Class members have suffered a direct physical loss of and

damage to their property as a result of the COVID-19 pandemic, “a natural disaster and a

catastrophe of massive proportions” that “involve[s] ‘substantial damage to property, hardship,

suffering or possible loss of life,’” DeVito, 2020 WL 1847100, at *12 (Pa. Apr. 13, 2020)


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(citations omitted), and the orders of civil authorities enacted in response to this natural disaster.

Among other things, Plaintiff and the other Class members have been unable to use their

property for its intended purpose, and they have been denied access to their property, causing a

suspension of business operations on the premises and the function of their property to be nearly

eliminated or destroyed.

        34.     The interruption of Plaintiff’s and other Class members’ businesses was not

caused by any of the exclusions set forth in the applicable Policy.

        35.     Plaintiff provided notice of their losses to Defendant consistent with the terms and

procedures of the Policy.

        36.     Notwithstanding the foregoing, Defendant’s agent verbally denied Plaintiff’s

claims for business interruption losses under the Policy.

Defendant’s Uniform Conduct

        37.     The COVID-19 pandemic is physically impacting private commercial property

throughout the United States threatening the survival of thousands of restaurants, retail

establishments, and other businesses that have had their business operations suspended or

curtailed indefinitely by order of civil authorities.

        38.     Upon information and belief, Erie has, on a widescale and uniform basis, refused

to pay its insureds under its business income, civil authority, and extra expense coverages for

business income losses suffered due to COVID-19, orders by civil authorities that have required

the necessary suspension of business, and any efforts to prevent further property damage or to

minimize the suspension of business and continue operations.

        39.     Indeed, upon information and belief, no insurer intends to cover any losses caused

by the COVID-19 pandemic. For example, on March 18, 2020, a bipartisan group of members of

the U.S. House of Representatives sent a letter to the several insurance industry trade


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associations, noting the devasting impact the orders of civil authorities in response to the

COVID-19 pandemic were having on American businesses and requesting that insurers cover

these financial losses, stating that “[b]usiness interruption insurance is intended to protect

business against income losses as a result of disruptions to their operations and recognizing

income losses due to COVID-19 will help sustain America’s businesses through these turbulent

times, keep their doors open, and retain employees on the payroll.” 12

       40.     The insurance industry leaders sent a joint response, rejecting the plea to cover

COVID-19 losses, explaining their position that “Business interruption policies do not, and were

not designed to, provide coverage against communicable diseases such as COVID-19.” 13

       41.     A declaratory judgment determining that the business income, civil authority, and

extra expense coverages provided in common all-risk commercial property insurance policies

applies to the suspension, curtailment, and interruption of business operations resulting from

measures put into place by civil authorities is necessary to prevent the Plaintiff and similarly

situated Class members from being denied critical coverage for which they have paid.

                                     CLASS ALLEGATIONS

       42.     Plaintiff brings this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure, individually and on behalf of all others similarly situated.

       43.     Plaintiff seeks to represent a nationwide class defined as:

               All persons or entitles that have entered into standard all-risk
               commercial property insurance policies with Erie to insure
               property throughout the United States, where such policies provide
12
  https://cunningham.house.gov/sites/cunningham.house.gov/files/wysiwyg_uploaded/
Signed%20BII%20Letter_Final.pdf
13
   Insurers Reject House Members’ Request to Cover Uninsured COVID Business Losses,
Insurance Journal (Mar. 20, 2020), available at
https://www.insurancejournal.com/news/national/2020/03/20/561810.htm.



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                  business income, civil authority, and extra expense coverages and
                  do not exclude coverage for pandemics, and who have suffered
                  losses due to measures put in place by civil authorities to stop the
                  spread of COVID-19 (the “Class”).

       44.        Excluded from the Class are Defendant, its employees, officers, directors, legal

representatives, heirs, successors, and wholly or partly owned subsidiaries or affiliated

companies; Class Counsel and their employees; and the judicial officers and their immediate

family members and associated court staff assigned to this case.

       45.        Plaintiff reserves the right to modify, expand, or amend the definition(s) of the

Class following the discovery period and before the Court determines whether class certification

is appropriate.

       46.        This action has been brought and may properly be maintained on behalf of the

Class proposed herein under the criteria of Rule 23 of the Federal Rules of Civil Procedure.

       47.        Numerosity - Federal Rule of Civil Procedure 23(a)(1). The Class is so

numerous that joinder of all members is impracticable. Upon information and belief, Erie has

sold thousands of insurance policies that include business income, civil authority and extra

expense coverages, to insureds throughout the United States. While Plaintiff is informed and

believe that there are thousands of members of each Class, the precise number of Class members

is unknown to Plaintiff but may be ascertained from Defendant’s books and records. Class

members may be notified of the pendency of this action by recognized, Court-approved notice

dissemination methods, which may include U.S. Mail, electronic mail, internet postings, and/or

published notice.

       48.        Commonality and Predominance—Federal Rule of Civil Procedure 23(a)(2)

and 23(b)(3). There are questions of law or fact that are common to the Class and which




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predominate over questions affecting any individual Class member. Common questions of law or

fact include without limitation:

              i.        Whether Plaintiff and the Class members suffered a covered loss under the

       standard commercial property insurance policies issued to members of the Class;

             ii.        Whether Defendant wrongfully denied all claims based on COVID-19;

            iii.        Whether Defendant’s business income coverage applies to a suspension of

       business caused by COVID-19 and/or related actions of civil authorities taken in response

       to the presence or threat of COVID-19;

            iv.         Whether Defendant’s civil authority coverage applies to a loss of business

       income caused by the orders of local, municipal, city, county, and/or state governmental

       entities requiring the suspension of business during the outbreak of COVID-19 in the

       United States;

             v.         Whether Defendant’s extra expense coverage applies to efforts to avoid or

       minimize a loss caused by COVID-19;

            vi.         Whether Defendant has breached its standard contracts of insurance

       through a uniform and blanket denial of all claims for business losses related to COVID-

       19 and/or the related actions of civil authorities taken in response to the presence or threat

       of COVID-19;

            vii.        Whether Plaintiff and the Class members suffered damages as a result of

       Defendant’s actions; and

           viii.        Whether Plaintiff and the Class members are entitled to an award of

       reasonable attorneys’ fees, interest, and costs.




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        49.     Typicality—Federal Rule of Civil Procedure 23(a)(3). The claims of Plaintiff are

typical of the claims of the Class, which arise from the same wrongful conduct by Defendant.

Plaintiff and the other Class members are all similarly affected by Defendant’s refusal to pay

under their uniform insurance policies. Plaintiff and the other Class members sustained damages

as a direct and proximate result of the same wrongful practices in which Defendant engaged.

        50.     Adequacy of Representation—Federal Rule of Civil Procedure 23(a)(4).

Plaintiff will fairly and adequately protect the interests of the other Class members and has no

interests adverse or antagonistic to the interests of the other members of the Class. Plaintiff has

retained competent counsel who are experienced in the prosecution of complex class action

litigation, including successfully litigating class action cases similar to this one, where insurers

breached contracts with insureds by failing to pay the amounts owed under their policies, and

Plaintiff intends to prosecute this action vigorously. The interests of the above-defined Class will

be fairly and adequately protected by Plaintiff and its counsel.

        51.     Inconsistent or Varying Adjudications and the Risk of Impediments to Other

Class Members’ Interests—Federal Rule of Civil Procedure 23(b)(1). Plaintiff seeks class-wide

adjudication as to the interpretation, and resultant scope, of Defendant’s insurance coverages.

The prosecution of separate actions by individual members of the Class would create an

immediate risk of inconsistent or varying adjudications that would establish incompatible

standards of conduct for the Defendant. Moreover, the adjudications sought by Plaintiff could, as

a practical matter, substantially impair or impede the ability of other Class members, who are not

parties to this action, to protect their interests.

        52.     Declaratory and Injunctive Relief—Federal Rule of Civil Procedure 23(b)(2).

Defendant acted or refused to act on grounds generally applicable to Plaintiff and the other Class




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members, thereby making appropriate final injunctive relief and declaratory relief, as described

below, with respect to the Class members.

         53.     Superiority—Federal Rule of Civil Procedure 23(b)(3). A class action is superior

to any other available means for the fair and efficient adjudication of this controversy, and no

unusual difficulties are likely to be encountered in the management of this class action.

Individualized litigation creates a potential for inconsistent or contradictory judgments and

increases the delay and expense to all parties and the court system. By contrast, the class action

device presents far fewer management difficulties, and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court.

                                      CAUSES OF ACTION

                                      COUNT I
               DECLARATORY JUDGMENT – BUSINESS INCOME COVERAGE
                         (On Behalf of Plaintiff and the Class)

         54.     Plaintiff realleges the foregoing paragraphs of this Complaint as though fully set

forth herein.

         55.     Plaintiff brings this Count individually and on behalf of the other members of the

Class.

         56.     Plaintiff’s Policy, as well as those of the other Class members, are contracts under

which Erie was paid premiums in exchange for its promise to pay Plaintiff’s and the other Class

members’ losses for claims covered by the Policies.

         57.     In Plaintiff’s Policy and the policies of other Class members, Erie agreed to pay

for its insureds’ actual loss of business income sustained due to the necessary suspension of its

operations during the period of restoration.

         58.     Plaintiff and the other Class members have suffered a direct physical loss of and

damage to their property as a result of COVID-19 and the orders of civil authorities, which has


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resulted in a suspension of their business operations causing Plaintiff and Class members to

suffer losses of business income and incur expenses.

           59.   These suspensions, losses, and expenses triggered business income coverage

under Plaintiff’s Policy and the policies of other Class members.

           60.   Plaintiff and the other Class members have complied with all applicable

provisions of the Policies and/or those provisions have been waived by Erie or Erie is estopped

from asserting them, and yet Erie has abrogated its insurance coverage obligations pursuant to

the Policies’ clear and unambiguous terms and has wrongfully and illegally refused to provide

coverage to which Plaintiff and Class members are entitled.

           61.   Erie has denied claims related to COVID-19 on a uniform and class-wide basis,

without individual bases or investigations, so the Court can render declaratory judgment no

matter whether members of the Class have filed a claim.

           62.   An actual case or controversy exists regarding Plaintiff’s and the other Class

members’ rights and Erie’s obligations under the Policies to reimburse Plaintiff and Class

Members for the full amount of business income losses incurred by Plaintiff and the other Class

members in connection with the suspension of their businesses stemming from orders intended to

mitigate the COVID-19 pandemic.

           63.   Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Class members seek a

declaratory judgment from this Court declaring the following:

      i.         Plaintiff’s and the other Class members’ business income losses incurred in

                 connection with the closure order and the necessary interruption of their

                 businesses stemming from orders intended to mitigate the COVID-19 pandemic

                 are insured losses under their Policies; and




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     ii.          Erie is obligated to pay Plaintiff and other Class members for the full amount of

                  the business income losses incurred and to be incurred in connection with the

                  closure order during the period of restoration and the necessary interruption of

                  their businesses stemming from orders intended to mitigate the COVID-19

                  pandemic.


                                       COUNT II
                 BREACH OF CONTRACT – BUSINESS INCOME COVERAGE
                           (On Behalf of Plaintiff and the Class)

           64.    Plaintiff realleges the foregoing paragraphs of this Complaint as though fully set

forth herein.

           65.    Plaintiff brings this Count individually and on behalf of the other members of the

Class.

           66.    Plaintiff’s Policy, as well as those of the other Class members, are contracts under

which Erie was paid premiums in exchange for its promise to pay Plaintiff’s and the other Class

members’ losses for claims covered by the Policy.

           67.    In Plaintiff’s Policy and the policies of other Class members, Erie agreed to pay

for its insureds’ actual loss of business income sustained due to the necessary suspension of its

operations during the period of restoration.

           68.    Plaintiff and the other Class members have suffered a direct physical loss of and

damage to their property as a result of COVID-19 and the orders of civil authorities, which has

resulted in a suspension of their business operations causing Plaintiff and the other Class

members to suffer losses of business income.

           69.    These suspensions and losses triggered business income coverage under

Plaintiff’s Policy and the policies of other Class members.



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         70.     Plaintiff and the other Class members have complied with all applicable

provisions of their policies and/or those provisions have been waived by Erie or Erie is estopped

from asserting them.

         71.     Erie, without justification, has refused performance under the Policy and other

Class members’ policies by denying coverage for these losses. Accordingly, Defendant is in

breach of the Policy and other Class members’ policies.

         72.     By denying coverage for any business income losses incurred by Plaintiff and the

other Class members as a result of the closure orders and orders intended to mitigate the COVID-

19 pandemic, Erie has breached its coverage obligations under the Policy and other Class

members’ policies.

         73.     As a result of Erie’s breaches of the Policy and other Class members’ policies,

Plaintiff and the other Class members have sustained substantial damages for which Erie is

liable, in an amount to be established at trial.

                                     COUNT III
               DECLARATORY JUDGMENT – CIVIL AUTHORITY COVERAGE
                         (On Behalf of Plaintiff and the Class)

         74.     Plaintiff realleges the foregoing paragraphs of this Complaint as though fully set

forth herein.

         75.     Plaintiff brings this Count individually and on behalf of the other members of the

Class.

         76.     Plaintiff’s Policy, as well as those of the other Class members, are contracts under

which Erie was paid premiums in exchange for its promise to pay Plaintiff’s and other Class

members’ losses and expenses for claims covered by the Policies.




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       77.     In Plaintiff’s Policy and the policies of other Class members, Erie agreed to pay

for losses of business income sustained and extra expenses incurred when, among other things,

there is damage to property near the insured premises resulting from a covered cause of loss, the

civil authority prohibits access to property near the insured premises, and the civil authority

action is taken in response to dangerous physical conditions.

       78.     Plaintiff and the other Class members have suffered losses and incurred expenses

as a result of actions of civil authorities that prohibited access to insured premises under the

Policy and Class members’ policies.

       79.     These losses satisfied all requirements to trigger civil authority coverage under

Plaintiff’s Policy and the policies of other Class members.

       80.     Plaintiff and Class members have complied with all applicable provisions of the

Policies and/or those provisions have been waived by Erie or Erie is estopped from asserting

them, and yet Erie has abrogated its insurance coverage obligations pursuant to the Policies’

clear and unambiguous terms and has wrongfully and illegally refused to provide coverage to

which Plaintiff and Class members are entitled.

       81.     Erie has denied claims related to COVID-19 on a uniform and class wide basis,

without individual bases or investigations, so the Court can render declaratory judgment no

matter whether members of the Class have filed a claim.

       82.     An actual case or controversy exists regarding Plaintiff’s and other Class

members’ rights and Erie’s obligations under the Policies to reimburse Plaintiff and the other

Class members for the full amount of covered civil authority losses and expenses incurred by

Plaintiff and the other Class members in connection with closure orders and the necessary




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interruption of their businesses stemming from the orders intended to mitigate the COVID-19

pandemic.

         83.      Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Class members seek a

declaratory judgment from this Court declaring the following:

   i.          Plaintiff and the other Class members’ covered civil authority losses and expenses in

               connection with the closure orders and the necessary interruption of their businesses

               stemming from the COVID-19 pandemic are insured losses under their policies; and

   ii.         Erie is obligated to pay Plaintiff and the other Class members for the full amount of

               covered civil authority losses and expenses incurred and to be incurred in connection

               with the closure orders during the period of restoration and the necessary interruption

               of their businesses stemming from the COVID-19 pandemic.

                                       COUNT IV
                 BREACH OF CONTRACT – CIVIL AUTHORITY COVERAGE
                           (On Behalf of Plaintiff and the Class)

         84.      Plaintiff realleges the foregoing paragraphs of this Complaint as though fully set

forth herein.

         85.      Plaintiff brings this Count individually and on behalf of the other members of the

Class.

         86.      In Plaintiff’s Policy and the policies of other Class members, Erie agreed to pay

for losses of business income sustained and extra expenses incurred when, among other things,

there is damage to property near the insured premises resulting from a covered cause of loss, the

civil authority prohibits access to property near the insured premises, and the civil authority

action is taken in response to dangerous physical conditions.




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        87.     Plaintiff and the other Class members have suffered losses and incurred expenses

as a result of actions of civil authorities that prohibited access to insured premises under the

Policy and Class members’ policies.

        88.     These losses satisfied all requirements to trigger civil authority coverage under

Plaintiff’s Policy and the policies of other Class members.

        89.     Plaintiff and the other members of the Class have complied with all applicable

provisions of the Policies and/or those provisions have been waived by Erie or Erie is estopped

from asserting them.

        90.     Erie, without justification, has refused performance under the Policy and other

Class members’ policies by denying coverage for these losses and expenses. Accordingly,

Defendant is in breach of the Policy and other Class members’ policies.

        91.     By denying coverage for any business losses and expenses incurred by Plaintiff

and other members of the Class in connection with the closure order and orders intended to

mitigate the COVID-19 pandemic, Erie has breached its coverage obligations under the Policy

and other Class members’ policies.

        92.     As a result of Erie’s breaches of the Policy and other Class members’ policies,

Plaintiff and the other members of the Class have sustained substantial damages for which Erie is

liable, in an amount to be established at trial.

                                    COUNT V
              DECLARATORY JUDGMENT – EXTRA EXPENSE COVERAGE
                       (On Behalf of Plaintiff and the Class)

        93.     Plaintiff realleges the foregoing paragraphs of this Complaint as though fully set

forth herein.




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         94.   Plaintiff brings this Count individually and on behalf of the other members of the

Class.

         95.   Plaintiff’s Policy, as well as those of other Class members, are contracts under

which Erie was paid premiums in exchange for its promise to pay Plaintiff’s and other Class

members’ losses for claims covered by the Policy.

         96.   In Plaintiff’s Policy and the policies of other Class members, Erie agreed to pay

for extra expenses incurred by Plaintiff and the other Class members during the period of

restoration that the insureds would not have incurred if there had been no loss or damage to the

insured premises. These extra expenses include expenses to avoid or minimize the suspension of

business, continue operations, and to repair or replace property.

         97.   Plaintiff and the other Class members have suffered a direct physical loss of and

damage to their property as a result of COVID-19 and the orders of civil authorities, which has

resulted in a suspension of their business operations. As a result, Plaintiff and the other Class

members have incurred extra expenses.

         98.   These expenses triggered extra expense coverage under Plaintiff’s Policy and the

policies of other Class members.

         99.   Plaintiff and the other Class members have complied with all applicable

provisions of the Policies and/or those provisions have been waived by Erie or Erie is estopped

from asserting them, and yet Erie has abrogated its insurance coverage obligations pursuant to

the Policies’ clear and unambiguous terms and has wrongfully and illegally refused to provide

coverage to which Plaintiff and Class members are entitled.




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       100.      Erie has denied claims related to COVID-19 on a uniform and class wide basis,

without individual bases or investigations, so the Court can render declaratory judgment no

matter whether members of the Class have filed a claim.

       101.      An actual case or controversy exists regarding Plaintiff’s and other Class

members’ rights and Erie’s obligations under the Policies to reimburse Plaintiff and the other

Class members for the full amount of extra expense losses incurred by Plaintiff and Class

members in connection with closure orders and the necessary interruption of their businesses

stemming from orders intended to mitigate the COVID- 19 pandemic.

       102.      Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Class members seek a

declaratory judgment from this Court declaring the following:

           i.       Plaintiff’s and other Class members’ extra expense losses incurred in

                    connection with the closure orders and the necessary interruption of their

                    businesses stemming from orders intended to mitigate the COVID-19

                    pandemic are insured losses under their Policies; and

           ii.      Erie is obligated to pay Plaintiff and other Class members for the full amount

                    of the extra expense losses incurred and to be incurred in connection with the

                    covered losses related to the closure orders during the period of restoration

                    and the necessary interruption of their businesses stemming from orders

                    intended to mitigate the COVID-19 pandemic.


                                      COUNT VI
                 BREACH OF CONTRACT – EXTRA EXPENSE COVERAGE
                          (On Behalf of Plaintiff and the Class)

       103.      Plaintiff realleges the foregoing paragraphs of this Complaint as though fully set

forth herein.



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         104.   Plaintiff brings this Count individually and on behalf of the other members of the

Class.

         105.   Plaintiff’s Policy, as well as those of the other Class members, are contracts under

which Erie was paid premiums in exchange for its promise to pay Plaintiff’s and the other Class

members’ losses for claims covered by the Policy.

         106.   In Plaintiff’s Policy and the policies of other Class members, Erie agreed to pay

for extra expenses incurred by Plaintiff and the other Class members during the period of

restoration that the insureds would not have incurred if there had been no loss or damage to the

insured premises. These extra expenses include expenses to avoid or minimize the suspension of

business, continue operations, and to repair or replace property.

         107.   Plaintiff and the other Class members have suffered a direct physical loss of and

damage to their property as a result of COVID-19 and the orders of civil authorities, which has

resulted in a suspension of their business operations. As a result, Plaintiff and the other Class

members have incurred extra expenses.

         108.   These expenses triggered extra expense coverage under Plaintiff’s Policy and the

policies of other Class members.

         109.   Plaintiff and other members of the Class have complied with all applicable

provisions of the Policies and/or those provisions have been waived by Erie or Erie is estopped

from asserting them.

         110.   Erie, without justification, has refused performance under the Policy and other

Class members’ policies by denying coverage for these extra expenses. Accordingly, Defendant

is in breach of the Policy and other Class members’ policies.




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        111.    By denying coverage for any business losses incurred by Plaintiff and other

members of the Class in connection with the closure order and orders intended to mitigate the

COVID-19 pandemic, Erie has breached its coverage obligations under the Policy and other

Class members’ policies.

        112.    As a result of Erie’s breaches of the Policies, Plaintiff and the other members of

the Class have sustained substantial damages for which Erie is liable, in an amount to be

established at trial.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of the Class, respectfully requests

that the Court enter judgment in its favor and against Defendant, as follows:

        A.      Entering an Order certifying the proposed nationwide Class, as requested herein,

                designating Plaintiff as Class representative, and appointing Plaintiff’s

                undersigned attorneys as Counsel for the Class;

        B.      Entering declaratory judgments on Counts I, III, and V in favor of Plaintiff and

                the members of the Class;

        C.      Entering judgments on Counts II, IV, and VI in favor of Plaintiff and the members

                of the Class and awarding damages for breach of contract in an amount to be

                determined at trial;

        D.      Ordering Defendant to pay attorneys’ fees and costs of suit;

        E.      Awarding pre-judgment and post-judgment interest; and

        F.      Awarding such other and further relief that the Court may deem just and proper.

                                  DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a trial by jury as to all issues so triable.




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Dated: February 10, 2021               Respectfully Submitted,

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                                 Attorneys for Plaintiff and the Putative Class




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